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UCT 03 2013

U.S. D'ZSTWCT_ COUFST
M|D. DSST, ?ENN.

 

ll\l TEE UNITED STATES DISTRICT COURT

FOR THE

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Prison ld. No.
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Prison ld. No. j j j j j

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Defendant(s)

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DISTRICT OF TENNESSEE
DIVISION

(List the naines of all the plaintiffs
filing this lawsuit Do not use “et
al.” Attach additional sheets if
necessary _

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(To he assigned hy the Clerlc}s
ofrice. Do not write in this space.)

.lnr'y' Trial 53 Yes § No

@ist the names of all defendants
against Whoin you are nling this
lawsuit Do not use “et al.’J Attach
additional sheets ifnecessary.

COM:PLA]NT FOR VlOLATlON OF CIVlI RIGHTS
FILED PURSUANT TO 42 U.S,C. 5 1983

l.

or state court?

CI Yes }>_‘<NO

Plaintiffs

_. l. ,.,// .Parties/to/the previous lawsdit:

PREVIOUS LAWSUITS (The following infonnation must h e provided hy each plaintiff.)

A. Have you or any of the other plaintiffs in this lawsuit Eled any other lawsuits in the
United States Disniot Court for the Mddle Distn_`ct of Tennessee, or in any other federal

lfyou checked the box marked “Yes” aboveJ provide the following infonnat_ion;., w

 

Defenclants

 

Case 1:13-Cv-00121 Document 1 Filed 10/03/13 Page 1 of 7 Page|D #: 1

d

 

 

 

 

 

E. lt you checked the box m

larked “Yes’J in question ll.D aboye, have you presented these
facts to the prison authorities through the state grievance procedure?

E Yes _
F. lt you checked the box marked “Yes” in

l. What steps did you take?

2. What Was the response ofpn

_'son authoritz`es? \

question ll.E aboye:

C~'. lt` you checked the box marke

 

 

d “No”r'n question ll.E aboveJ explain Why not.

      

 
 
 
    
     

per-tam to your cour‘:`mementrn a detention facility operated
by crty or county law emorcement avencres (Ior exampleJ crty or county jailj Worlgh@uge
et )'?
g Yes 5 No
l. lr”you checked the box marked ‘Yes rn quesuon lt`l-l aboye, have you presented these
acts to the authorrtres Who operate the detention facihnf?
Yes U No
J`-. l'f you checked the box marked “Yes” in question ll.l aboye:
l. What steps did you take? e lie p 1447
+ ` é
2.

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L. lt you checked

the box marked ‘l\lo”in

including at a ' um, a copy of the
each rssueraisedin this complaint, th eprison’s orjar'l’s resp onse to that
ult of any appeal you too

kfrom an initial denial ofyour grievance
lll. PARTIES TO TlrUS LAWSUIT

A. Plaintihc(sj bringing this lawsuit.'

l, Name ofthetirstplaintiff: '\0/ l £:¢/ fQ¢,-Hl€,
Prison ld. No. of the fast plaintiff;

g
CV

 

lV. STATEl\/,CENT OF FACTS
State the relevant facts of your case as brieily as possible include the dates When the incidents
or events occurred1 Where there they occurredJ and how each defendant Was involved B e sure
to include the names of other persons involved and the dates and places of their involvement

lf you set forth more than one claim, number each claim separately and se orth each claim in
a sepal'ate paragraph Attach additional sheets, if necessary Use 8 t/é in. z ll in. paper. Write

on one side only, and leave a l in. margin on all four 4 sides

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lfyou change your address you must notify the Court immediately.)

Name of second the plaintifh

 

Piison ld. No. of the second plaintiff

Address of the second plaintiff

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,,///'I:f'tlie're afe/mdi:e:than ttr'o plaintiHs, list their names, prison identiication
numbers, and addresses _on a separate sheet ofpap er.

B. Defendant(s) against Whom this lawsuit is being brought
l\lame ofthe n:tst defendant 0/\/€ mp /'l€/i/}Cc, / (QM¢(//'

l.
Place of employment of the nrst defendant _@,

  

The hrst defendant’s. address:
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Namedin official capacity? ll Yes l:l NO
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2 Namc of the second defendant l fri/f f`€n q (//l/¢..~/~;/ *3~/§,, /
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Namedin official capacity? ij Yes ij N@
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If there_a;‘§ruorethantwo defendants "a'gai'nst latham you are bringing this

“ `lays?suit} you must list on a sep arate sheet ofp ap er the name of each additional
defendantJ their place of employmentJ their address, and the cap acityin Which
you are suing them. lfyou do not provide the names of such additional
defendants, they Will not he included in your lawsuit l_fyou do not provide

their proper name, place of employment, and addressJ the Clcrl§ Will he

unable to serve them should process issne.
Case 1:13-cv-00121 Document 1 Filed 10/03/13 Page 5 of 7 Page|D #: 5

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ll.

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When did you file the previous lawsuit?

, hppealed, or still pending?

 

 

in what court did you nle the previous lawsuit?

(lf you filed the lawsuit in federal court, provide the name of the District. lf you
fled the lawsuit in state courtJ provide the name of the state and the county.

 

What was the case number of the previous lawsuit?

What was the ludge’s name to whom the case was assigned?

(Provide the year, if

you do not lcuow the exact date.)
Whauwas theresultofthepreiddus lawsuit? For example, was me case dismissed

(Provide

`When was the previous lawsuit decided by the court9
the year, if you do not know the exact date.)

Did the circumstances of the prior lawsuit involve the same facts or circumstances
that you are alleging in this lawsuit

Cl Yes U No

(Ifyou have filed more than one prior lawsuit, list the additional lawsurt(s) on
a separate sheet orp ap er, and providethe sameinformation for the additional

lawsuit(s)‘.)

'_HEPLAB\TTEF’S CUR_RENT'PLACE OF CONFDIEMENT (The following information

la

must he provided by each plaintin".)

A What is the name and address of the prison or jail in which you are ci_rrenily
h lifo U, G'f-H`c/HS </~,

incarcerated? L)°flA/Ffv\c€ fG\/i n+c/
L/Mr~'»c€ L.m}].

Are the lacis of your lawsuit related to your present coniinement’/‘

"_YA"//.
T’¢/\/ ?gVL/({

% Yes ij No
C. lf you checked the box marked ‘No” in question lI. B above provide the name and
address of the prison or jail to which the facts or this lawsuit pertain '

Do the facts of your lawsuit relate to your confinement in a 'l`ennessce State Pnson'?

ij Yes }(No

Ca§e/al:li¢susl€nbtilah®tieelltt%iiilsi”Ptf§s@idfoaldtsfi@ealg€e of 7 PagelD #. 6

 

Vl CERTIFICATION
l (we) certify under the penalty of perjury that the foregoing complaint is true to the best of my (our)

informationJ knowledge and belief
Date:

_Signature:

 

Prison Id. l\lo.

Address:
(Include the city, state and zip co de.) l , , / , / ,

Signatut§ /,
/ regan ia NO.

Address:
(Include the cityJ state and zip code.]

ALL PLAll\l’l`lFFS MUST SIGN ADUD DATE TE:E CODCPLAINT, and provide the
information listed above. lf there are more than two plaintiffs, attach a separate sheet of

pap er with their signatures, dates, prison identification numbers, and addresses

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TO PROCEED D/'FOM PA UPERIS, iant paying the civil ilin`g fee.

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Case 1:13-cv-00121 Document 1 Filed 10/03/13 lPe\ge 7 of 7 Page|D #: 7

